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lN THE CIRCUIT COURT OF Tl'lE SEVENTH JUDICIAL CIRCUIT
IN AND FOR ST. JOHNS COUNTY, FLORIDA

CIVlL DIVISI()N
JOSEPH WARREN, on behalf of himself
and on behalf of all others
similarly situated,
Plaintiff,
v. Case No. :

OLYMPUS INSURANCE COMPANY,

Defendant.
l

CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

 

Plaintiff, JOSEPH WARREN (“Plaintiff”), by and through undersigned counsel,
and on behalf of himself, the Putative Class set forth below, and in the public
interest, brings the following Class Action as of right against Defendant, OLYMPUS
INSURANCE COMPANY (“Defendant”) under the Fair Credit Reporting Act of 1970,
as amended (“FCRA”), 15 U.S.C. § 1681 e_t _s¢_:g= and for damages in excess of $15,000,

exclusive of interest, fees, and costs, for unpaid wages under Florida common law.

PRELIMINARY STATEMENT
l. Defendant is a corporation that specializes in providing homeowner’s
insurance policies.
2. Defendant routinely obtains and uses information in consumer reports to

conduct background checks on prospective and current employees, and frequently relies

on such infonnation, in whole or in part, as a basis for taking adverse employment action,

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such as termination of employment, reduction in working hours, demotion, failure to hire,
and failure to promote.

3. While the use of consumer report information for employment purposes is
not per se unlawht|, it is subject to strict disclosure and authorization requirements under
the FCRA.

4. Defendant willfully violated these requirements in multiple ways, thereby
systematically violating Plaintift’s rights and the rights of other putative class members.

5. Defendant violated 15 U.S.C. § l681b(b)(2)(A)(i) by procuring consumer
reports on Plaintiff and other putative class members for employment purposes, without
first making proper disclosures to them in the format required by the statute. Under this
subsection of the FCRA, Defendant is required to disclose to its employees-in a
document that consists solely of the disclosure-that it may obtain a consumer report on
them for employment purposes, This disclosure must be made by employers prior to
obtaining copies of employees’, or prospective employees’, consumers reports. Ld.
Defendant willfully violated this requirement by failing to provide Plaintiff and other
putative class members with a copy of a separate document solely consisting of
Defendant‘s disclosure, stating that Defendant may obtain a consumer report on any
person for employment purposes. This practice violates long-standing regulatory
guidance from the Federal 'l`rade Commission (“FTC").

6. Defendant also willfully refused to fully compensate Plaintiff and other

putative class members for all wages due under Florida Common Law.

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7. Based on the foregoing violations, Plaintiff asserts FCRA and Florida
Common Law claims against Defendant on behalf of himself and a Class of Defendant’s
employees and prospective employees

8. ln Counts One and Two, Plaintiff asserts FCRA claims under 15 U.S.C.
loSlb(b)(Z)(A)(i)-(ii) on behalf of an “Improper Disclosure and Authorization Class”
consisting of:

All of Defendant’s employees and job applicants in the United States

who were the subject of a consumer report that was procured by

Defendant within five years of the filing of this complaint through the

date of final judgment in this action as required by 15 U. S.C §

lGBlb(b)(Z)(A).

9. ln Count Three, Plaintiff asserts unpaid wages claims under Florida
Common Law on behalf of an “Unpaid Wages Class” consisting of

All Defendant’s employees in the Uoited States who were employed by

Defendant and denied their full wages and commissions within five years of

the filing of this complaint through the date of final judgment in this action.

10. On behalf of himself Putative Class, Plaintiff seeks statutory damages,

costs and attorneys’ fees, equitable relief, and other appropriate relief under the FCRA

and Florida Common Law.

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ll. lndividual and representative Plaintiff JOSEPH WARREN (“Plaintiff”)
lives in St. Augustine, Florida. Plaintiff is a fortner employee of Defendant, and is also a

member of each of the Putative Classes defined below.

12. Defendant maintains corporate headquarters in Palm Beach Gardens.

Defendant maintains multiple offices and employs thousands of people.

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13. This is an action for damages in excess of $15,000.00, exclusive of
interest, fees, and costs, for violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681
etseg.

14. Venue is proper in St. Johns County, because all events giving rise to

these claims arose in this County.

 

Bacltground Checlrs

15. Defendant conducts background checks on the majority of its
prospective employees as part of a standard screening process. ln addition, Defendant
also conducts background checks on its current employees from time to time during
the course of their employment

16. Based on information and belief, Defenth does not perform these
background checks in-house. Rather, Defendant relies on various outside consumer
reporting firms to obtain this infonnation, and return the corresponding reports to
Defendant. These reports are “consumer reports” within the meaning of the FCRA.

FCRA Vr'o!ations Relatiug to Improper Disclosure and Authorr’za!ion Class

l7. Defendant procured consumer report information on Plaintiff in
violation of the FCRA.

18. Under the FCRA, it is unlawful to procure a consumer report or cause
a consumer report to be procured for employment purposes, unless:

(i) a clear and conspicuous disclosure has been made in writing to

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the consumer at any time before the report is procured or caused
to be procured, in a document that consists solely of the
disclosure that a consumer report may be obtained for
employment purposes; and

(ii) the consumer has authorized (which authorization may be made
on the document referred to in clause (i)) the procurement of
the consumer report in writing.

15 U.S.C. §§ 1681b(b)(2)(A)(i)-(ii) (emphasis added).

19. Defendant failed to satisfy these unambiguous disclosure and
authorization requirements

20. Based upon information and belief, Defendant does not have a stand-
alone FCRA disclosure or authorization fonn.

21. This practice violates the plain language of the FCRA, and also flies in
the face of unambiguous case law and regulatory guidance from the FTC.

22. For example, Defendant’s Background Check Disclosure form discloses
that Defendant intends to conduct a background check and, at the same tirne, purports to
release Defendant from any liability related to the background check. Courts throughout
the country, including in Milboume v. JRK Residentr'al Am., LLC, 2015 U.S. Dist. LEXIS
29905, 15 (E.D. Va. Mar. 10, 2015), Avilo v. NOW Heallh Group, Inc., 2014 U.S. Dist.
LEXIS 99178, 2 (N.D. Ill. July 17, 2014), Sr’ngleton v. Domr°no's Pizza, 2012 WL 245965,
*8 (D. Md. Jan. 25, 2012), Reardon v. Closetmaid Corp., 2013 WL 6231606, * lO-l l
(W.O. Pa. Dec. 2, 2013), and E. E.O.C. v. Video OnIy. lnc., No. ClV. 06-1362-K1, 2008

wL 2433841 am 1 (D. or. nme 11, 2008), have herd that § 1631 b(b)(z)(A)(i) prohibits

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the inclusion of a waiver of rights in a form used by an employer to disclose to a
prospective employee his or her rights under the FCRA.

23. The inclusion of this release provision in the Background Check
Disclosure form violates the FCRA.

24. The “inclusion of such a waiver [of liability] in a disclosure form will
violate Section 604(b)(2)(A) of the FCRA, which requires that a disclosure consist ‘solely’
of the disclosure that a consumer report may be obtained for employment purposes.”

25. Defendant willfully disregarded case law and regulatory guidance, and
willfully violated 15 U.S.C. § l681b(b)(2)(A) by procuring consumer report information
on prospective or current employees without complying with the disclosure and
authorization requirements of the statute.

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24. On or about October 5, 2016, PlaintiH` applied for a position with
Defendant in St. Augustine, Florida.

25. The employment application completed by Plaintiff for Defendant
contained a disclosure that Defendant would obtain a consumer report on Plaintiff.

26. The disclosure also released Defendant from all liability associated with
obtaining a consumer report on Plaintiff.

27. It was unlawful for Defendant to procure a consumer report on Plaintiff
without making the disclosures required by the FCRA.

28. ln doing so, Defendant violated 15 U.S.C. § 1681b(b)(2)(A)(i) by

procuring consumer reports on Plaintiff and other putative class members for

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employment purposes, without first making proper disclosures in the format required by
the Statuie.

29. Also in violation of 15 U.S.C. §§ 1681 b(b)(2)(A)(i), Defendant
unlawfully inserted liability release provisions into forms purporting to grant Defendants
authority to obtain and use consumer report information for employment purposes The
FCRA forbids this practice, since it mandates that all forms granting the authority to
access and use consumer report information for employment purposes be "stand-alone
forms" that do not include any additional agreements Defendant's decision to include a
liability release provision in its authorization forms is contrary to both the plain language
of the FCRA and to unambiguous regulatory guidance provided by the FTC.

30. Specifically, Defendant's Background Check Disclosure form, attached
as Exhibit A, demonstrates Defendant's intent to conduct a background check while
simultaneously purporting to release Defendant from any liability in relation to the
background check in the event that any information obtained proves erroneous. The
release reads as follows: "I release and hold harmless all parties involved from any
liability for damages arising from requesting, procuring or fumishing the requested
information except with respect to a violation of the Ac ."

31. The inclusion of this release provision in Defendant's disclosure and
release form violates the FCRA. Since 1998, the FTC has specifically wanted that
"inclusion of such a waiver [of liability] in a disclosure form will violate Section
(b)(2)(A) of the FCRA, which requires that a disclosure consist 'solely’ of the disclosure

that a consumer report may be obtained for employment purposes."

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32. Defendant failed to satisfy the requirements of the Disclosure and
Authorization Notice when it procured Plaintiff’s consumer report without the making the
proper disclosures

33. Plaintiff began employment with Defendant as an adjuster.

34. ln exchange for Plaintiff’s services, Defendant agreed to pay Plaintiff a
salary plus commissions

35. Defendant failed to pay PlaintiH`all wages owed to Plaintiff.

36. Plaintiff’s unpaid COMMISSIONS constitute “wages" under Florida
common law, as well as under Fla. Stat. § 448.08.

37. Defendant's failure to pay Plaintiff all of Plaintiff’s wages was willful.

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38. Plaintiff asserts claims under Counts land2 of this Complaint

on behalf of a Putative “Improper Disclosure and Authoriaation Class” defined as

follows:

All Defendant's employees and job applicants in the United States who were
the subject of a consumer report that was procured by Defendant within five
years of the filing of this complaint through the date of final judgment in this
action as required by the FCRA.

39. Plaintiff asserts claims under Count 3 of this Complaint on
behalf of a Putative “Unpaid Wages Class” defined as follows:

All Defendant's employees in the United States who were employed by

Defendant and denied their full wages and commissions within the applicable

statute of limitations through the date of final judgment in this action.

40. Numerosig: The members o f the Putative Classes are so

numerous that joinder of all Class members is impracticable Defendant regularly

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obtains and uses information in consumer reports to conduct background checks on
prospective employees and current employees, and frequently relies on such
information, in whole or in part, as a basis for taking adverse employment action.
Plaintiff is informed and believes that during the relevant time period, thousands of
Defendant’s employees and prospective employees satisfy the definition of the Putative
Classes,

41. M: Plaintiff’s claims are typical of those of the members of
the Putative Classes. Defendant typically uses consumer reports to conduct
background checks on employees and prospective employees, Defendant typically
does not provide copies of consumer reports to employees or prospective employees
before taking adverse action against them, based on information contained in
such reports. The FCRA and Florida common law violations suffered by Plaintiii` are
typical of those suffered by other Putative Class members, and Defendant treated
Plaintiff in a manner consistent with its treatment of other Putative
Class members in accordance with its standard policies and practices.

42. Adeguacy: Plaintiff will fairly and adequately protect the interests of
the Putative Classes, and has retained counsel experienced in complex class action
litigation.

43. Cgmmonalig: Common questions of law and fact exist as to all members
of the Putative Classes, and predominate over any questions solely affecting

individual members of the Putative Classes, These common questions include, but are not

limited to:

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a. Whether Defendant uses consumer report information to
conduct background checks on employees and prospective
employees;

b. Whether Defendant's background check practices and/or
procedures comply with the FCRA, including as to its “release”
of liability;

c. Whether Defendant violated the FCRA by procuring consumer
report information without making proper disclosures in the
format required by the statute;

d. Whether Defendant violated the FCRA by procuring consumer
report information based on invalid authorizations;

e. Whether Defendant's violations of the FCRA were willful;

f. Whether Defendant failed to pay Plaintiff all wages owed to
Plaintiff;

g. Whether Plaintiff’s unpaid commissions constitute “wages”
under Florida common law;;

h. The proper measure of statutory damages; and
i. The proper form of injunctive and declaratory relief.
44. This case is maintainable as a class action because prosecution of

actions by or against individual members of the Putative Classes would result in
inconsistent or varying adjudications and create the risk of incompatible standards of
conduct for Defendant. Further, adjudication of each individual Class member’s claim as
separate action would potentially be dispositive of the interest of other individuals not a
party to such action, thereby impeding their ability to protect their interests.

45. This case is also maintainable as a class action because Defendant has
acted or refused to act on grounds that apply generally to the Putative Classes, so

that final injunctive relief or corresponding declaratory relief is appropriate with

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respect to the Classes as a whole.

46. Class certification is also appropriate because questions of law and fact
common to the Putative Classes predominate over any questions affecting only
individual members of the Putative Classes, and also because a class action is superior
to other available methods for the fair and efficient adjudication of this litigation.
Defendant's conduct, which is described in this Complaint, stems from common and
uniform policies and practices, resulting in common violations of the FCRA. Members
of the Putative Classes do not have an interest in pursuing separate actions against
Defendant, as the amount of each Class member’s individual claim for damages is small
in comparison to the expense and burden of individual prosecution Class
certification will also obviate the need for unduly duplicative litigation that might
result in inconsistent judgments concerning Defendant’s practices Moreover,
management of this action as a class action will not present any foreseeable difficulties
ln the interests of justice and judicial efficiency, it would be desirable to concentrate
the litigation of all Putative Class members’ claims in a single action, brought in a single
forum.

47. Plaintiff intends to send notice to all members of the Putative Classes
to the extent required by Rule 1.220. The names and addresses of the Putative Class

members are readily available from Defendant's records.

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Failure to Make Proper Disclosure in Violation of FCRA
15 U.S.C. § 1681b(b)(2)(A)(i)

48. ln violation of the FCRA, the background check that Defendant required
the Bacl<ground Check Class to complete as a condition of their employment with
Defendant does not satisfy the disclosure requirements of 15 U.S.C. § 1681b(b)(2)(A)(i),
because Defendant failed to provide a stand-alone document pertaining to how the
consumer report information would be obtained and utilized. Furthen'nore, the
background check document provided by Defendant includes an extraneous release and
that violates the FCRA.

49. Defendant violated the FCRA by procuring consumer reports on Plaintiff
and other Background Check Class members without first making proper disclosures in
the format required by 15 U.S.C. § 1681 b(b)(2)(A)(i).

50. The foregoing violations were willful. Defendant knew that it was
required to provide a stand-alone form prior to obtaining and then utilizing a consumer
report on any of the improper Disclosure and Authorization Class members,
Unfortunately, Defendant did nothing to correct their illegal FCRA practices. By failing
to do so, Defendant acted in deliberate or reckless disregard of its obligations and the
rights of Plaintiff and other Background Check Class members under 15 U.S.C. §
l681b(b)(2)(A)(i). Defendant knew or should have known of its legal obligations under
the FCRA. These obligations are well established in both the plain language of the FCRA
and in the promulgations of the Federal Trade Commission. Defendant obtained, or had

available to it, substantial written materials that apprised it of its duties under the FCRA.

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Any reasonable employer would know of, or could easily discover these mandates

51. Plaintiff and the Irnproper Disclosure and Authorization Class are
entitled to statutory damages of not less than one hundred Dollars ($100) and not more
than one thousand Dollars ($1,000) for each and every one of these violations under 15
U.S.C. § l681n(a)(l)(A), plus punitive damages under 15 U.S.C. § 1681n(a)(2).

52. Plaintiff and the Background Check Class are further entitled to recover
their costs and attomeys’ fees, in accordance with 15 U.S.C. § l681n(a)(3).

Failure to Obtain Proper Authorization in Violation of FCRA
15 U.S.C. § léBlb(b)(Z)(A)(ii)

53. Defendant violated the FCRA by procuring consumer reports relating to
Plaintiff and other Background Check Class members without proper authorization See
15 U.S.C. § 168lb(b)(2)(A)(ii).

54. The foregoing violations were willful. Defendant acted in deliberate or
reckless disregard of its obligations and the rights of Plaintiff and other Background
Check Class members under 15 U.S.C. § 1681b(b)(2)(A)(ii). Defendant knew or should
have known of its legal obligations under the FCRA. These obligations are well
established in both the plain language of the PCRA and in the promulgations of the
Federal 'I`rade Commission. Defendant obtained, or had available, substantial written
materials which apprised it of its duties under the FCRA. Any reasonable employer
knows about, or can easily discover, these mandates

55. Plaintiff and the lmproper Disclosure and Authorization Class are

entitled to statutory damages of not less than one hundred Dollars ($lOO) and not more

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than one thousand Dollars ($1,000) for each and every one of these violations under 15
U.S.C. § lGSln(a)(l)(A), plus punitive damages under 15 U.S.C. § 1681n(a)(2).

56. Plaintiff and the Background Check Class are further entitled to recover
their costs and attomeys' fees, in accordance with 15 U.S.C. § 1681n(a)(3).

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57. WHEREFORE, Plaintiff, on behalf of himself and the Putative Class,

prays for relief as follows:
A. Determining that this action may proceed as a class action;

B. Designating Plaintiff as class representative and designating
Plaintifl’s counsel as counsel for the Putative Classes;

C. lssuing proper notice to the Putative Classes at Defendant's
expense;

D. Declaring that Defendant committed multiple, separate
_violations of the FCRA;

E. Declaring that Defendant acted willfully in deliberate or
reckless disregard of Plaintifl"s rights and its obligations under
the FCRA;

F. Awarding statutory damages as provided by the FCRA, including
punitive darnages;

G. Awarding reasonable attomeys' fees and costs as provided by
the FCRA; and

H. Granting other and timber relief, in law or equity, as this Court
may deem appropriate and just.

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Class Claim Wommon Law

60. During the applicable statutes of limitation period Plaintiff, and the
putative Unpaid Wages Class he seeks to represent, worked as an adjuster hired by
Defendant to appraise damages during Hun’icane Matthew.

61. Plaintiff and the putative Unpaid Wages Class were let go for "no reason"
and not paid all commission (or any) commissions owed.

62. During the above time period, Plaintiff and the putative class members
worked for Defendant and Defendant agreed to pay Plaintiff and the putative class
members all wages owed.

63. Defendant failed to compensate Plaintiff all “wages” owed to them,
including commissions, bonuses, incentive pay, and even hourly wages owed when
Defendant failed to pay.

64. As a result of the foregoing, Plaintiffs have suli`ered damages.

65. Plaintiff is in possession of a group of adjusters who were subjected to

precisely the same pay scheme which easily exceeds 40+ people.

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WHEREFORE, Plaintiff and the putative class members on the Third Claim for
Relief demand:

(a) Ajury trial on all issues so triable;

(b) That process issues and that this Court take jurisdiction over the case;

(c) Judgment against Defendant for an amount equal to Plaintiff's unpaid

back wages;

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(d) All costs and attomey’s fees incurred in prosecuting these claims, pursuant
to Fla. Stat. §448.08; and
(e) For such further relief as the Court deemsjust and equitable.
JURY TRlAL DEMAND
Plaintiff and the Putative Class demand trial by jury as to all issues

so triable.

Dated this My of January, 2017.

RespWed,

LursMABAssA

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